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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:
         Residential Capital, LLC, et al                     In Proceedings For A
                                                             Reorganization Under
                                   Debtors.                  Chapter 11
                                                             Case No. 12-12020
                                                             (Jointly Administrated)
---------------------------------------------------------X




             CONFIDENTIAL - SUBJECT TO BANKRUPTCY COURT ORDER


THE MATERIAL HEREIN HAS BEEN FILED UNDER SEAL PURSUANT TO AN ORDER
OF THE BANKRUPTCY COURT, DATED, May 13, 2013, DIRECTING THE CLERK TO
FILE SUCH MATERIAL UNDER SEAL.
